                                                              United States Bankruptcy Court
                                                              Western District of New York
In re:                                                                                                                 Case No. 20-10322-CLB
The Diocese of Buffalo, N.Y.                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0209-1                                                  User: admin                                                                 Page 1 of 27
Date Rcvd: Oct 20, 2023                                               Form ID: trscript                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 22, 2023:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
                       + Email/Text: ustpregion02.bu.ecf@usdoj.gov
                                                                                        Oct 20 2023 18:29:00      OFFICE OF THE U.S. TRUSTEE, JOSEPH W.
                                                                                                                  ALLEN, ESQ., Olympic Towers, 300 Pearl Street,
                                                                                                                  Suite 401, Buffalo, New York 14202-2523

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 22, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 20, 2023 at the address(es) listed
below:
Name                               Email Address
Adam Ross Durst
                                   on behalf of Defendant Employers Insurance Company of Wausau (f/k/a Employers Insurance of Wausau A Mutual Company
                                   f/k/a Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com

Adam Ross Durst
                                   on behalf of Notice of Appearance Creditor Employers Insurance Company of Wausau (formerly known as Employers Insurance
                                   of Wausau A Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                                   adurst@goldbergsegalla.com

Adam Ross Durst
                                   on behalf of Defendant Nationwide Insurance Company of America adurst@goldbergsegalla.com

Adam Ross Durst



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                          on behalf of Notice of Appearance Creditor Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Cross Defendant Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Interested Party Nationwide Insurance Company of America adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Interested Party Nationwide Mutual Insurance Company (f/k/a Farm Bureau Mutual Automobile Insurance Company)
                          adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A Mutual
                          Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Defendant Wausau Underwriters Insurance Company adurst@goldbergsegalla.com

Adam Ross Durst
                          on behalf of Cross Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A
                          Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin) adurst@goldbergsegalla.com


Amy Keller
                          on behalf of Defendant JMH 100 Doe et al akeller@lglaw.com, sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party Don E. Whelan akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party HW 4 Doe akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party LG 65 Doe akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Attorney Lipsitz Green Scime Cambria LLP akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party Wyatt Schoenle akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party LG 74 DOE akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party LG 69 DOE akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party Dorian Reeves akeller@lglaw.com sfischer@lglaw.com

Amy Keller
                          on behalf of Interested Party LG 77 DOE akeller@lglaw.com sfischer@lglaw.com

Andrew Janet
                          on behalf of Interested Party Judith Wilcox Halsey asjanet@jjsjustice.com

Andrew Janet
                          on behalf of Interested Party Diana L. O'Hara asjanet@jjsjustice.com

Angela Z. Miller
                          on behalf of Interested Party Catholic Health System Inc. amiller@phillipslytle.com, sreiner@phillipslytle.com

Antigone Curis
                          on behalf of Creditor Abuse Survivors acuris7@gmail.com

Brett S. Theisen
                          on behalf of Interested Party Selective Insurance Company of New York btheisen@gibbonslaw.com

Brett S. Theisen
                          on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                          btheisen@gibbonslaw.com

Brett S. Theisen
                          on behalf of Defendant Selective Insurance Company of America (f/k/a Exchange Mutual Insurance Company f/k/a Exchange
                          Mutual Indemnity Insurance Company) btheisen@gibbonslaw.com

Brian David Barnas
                          on behalf of Defendant Merchants Mutual Insurance Company bdb@hurwitzfine.com robins@hurwitzfine.com

Brian Jacob Butler
                          on behalf of Plaintiff The Diocese of Buffalo N.Y. bbutler@bsk.com, cduger@bsk.com;kdoner@bsk.com;CourtMail@bsk.com




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Brittany Mitchell Michael
                            on behalf of Notice of Appearance Creditor Official Committee of Unsecured Creditors bmichael@pszjlaw.com

Bruce Alan Anderson
                            on behalf of Notice of Appearance Creditor Parish Steering Committee baafiling@eaidaho.com

Bruce Alan Anderson
                            on behalf of Interested Party Parish Steering Committee baafiling@eaidaho.com

C Kenneth Foit
                            on behalf of Interested Party Thomas J Cichon ckennethfoit@gmail.com

Catalina Sugayan
                            on behalf of Interested Party Certain Underwriters at Lloyd's London catalina.sugayan@clydeco.us, Nancy.Lima@clydeco.us

Catalina Sugayan
                            on behalf of Defendant Certain Underwriters at Lloyds London and Certain London Market Companies
                            catalina.sugayan@clydeco.us, Nancy.Lima@clydeco.us

Charles Edwin Jones
                            on behalf of Defendant Fireman's Fund Insurance Company charles.jones@lawmoss.com Brenda.murphy@lawmoss.com

Charles Edwin Jones
                            on behalf of Cross Defendant Fireman's Fund Insurance Company charles.jones@lawmoss.com Brenda.murphy@lawmoss.com

Charles J. Sullivan
                            on behalf of Debtor The Diocese of Buffalo N.Y. csullivan@bsk.com, kdoner@bsk.com;jhunold@bsk.com;CourtMail@bsk.com

Charles J. Sullivan
                            on behalf of Plaintiff The Diocese of Buffalo N.Y. csullivan@bsk.com,
                            kdoner@bsk.com;jhunold@bsk.com;CourtMail@bsk.com

Conrad Chiu
                            on behalf of Notice of Appearance Creditor Diana L. O'Hara cchiu@pryorcashman.com

Conrad Chiu
                            on behalf of Notice of Appearance Creditor Judith Wilcox Halsey cchiu@pryorcashman.com

Craig Goldblatt
                            on behalf of Notice of Appearance Creditor The Continental Insurance Company craig.goldblatt@wilmerhale.com

Daniel J. Chiacchia
                            on behalf of Creditor Madonna Bishop et al dan@cf-legal.com

Daniel J. Chiacchia
                            on behalf of Notice of Appearance Creditor Madonna Bishop et al dan@cf-legal.com

Daniel J. Chiacchia
                            on behalf of Creditor Madonna Bishop et al. dan@cf-legal.com

Daniel J. Schufreider
                            on behalf of Interested Party Catholic Mutual Relief Society of America dschufreider@schiffhardin.com

Daniel Walter Gerber
                            on behalf of Notice of Appearance Creditor NGM Insurance Company dgerber@gerberciano.com
                            mbarone@gerberciano.com;jewell@gerberciano.com

Daniel Walter Gerber
                            on behalf of Defendant NGM Insurance Company (successor-in-interest to National Grange Mutual Insurance Company)
                            dgerber@gerberciano.com mbarone@gerberciano.com;jewell@gerberciano.com

David Attisani
                            on behalf of Notice of Appearance Creditor The Continental Insurance Company dattisani@choate.com
                            david-attisani-2688@ecf.pacerpro.com

David C. Christian, II
                            on behalf of Notice of Appearance Creditor The Continental Insurance Company dchristian@dca.law

David L. Gay
                            on behalf of Defendant National Union Fire Insurance Company of Pittsburgh PA dgay@carltonfields.com,
                            cguzman@carltonfields.com

David M Spector, I
                            on behalf of Interested Party Catholic Mutual Relief Society of America dspector@schiffhardin.com

Dirk C. Haarhoff
                            on behalf of Interested Party Selective Insurance Company of New York dchaarhoff@kslnlaw.com

Dirk C. Haarhoff
                            on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                            dchaarhoff@kslnlaw.com

Dominic J. Picca



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                          on behalf of Defendant Liberty Mutual Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Notice of Appearance Creditor Excelsior Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Interested Party Excelsior Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Interested Party Liberty Mutual Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Notice of Appearance Creditor Liberty Mutual Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Interested Party Peerless Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Dominic J. Picca
                          on behalf of Notice of Appearance Creditor Peerless Insurance Company djpicca@mintz.com
                          jpsmith@mintz.com,docketing@mintz.com,naellman@mintz.com

Douglas R Gooding
                          on behalf of Interested Party Liberty Mutual Insurance Company dgooding@choate.com
                          douglas-gooding-9991@ecf.pacerpro.com

Douglas R Gooding
                          on behalf of Interested Party Peerless Insurance Company dgooding@choate.com douglas-gooding-9991@ecf.pacerpro.com

Douglas R Gooding
                          on behalf of Defendant Liberty Mutual Insurance Company dgooding@choate.com douglas-gooding-9991@ecf.pacerpro.com

Douglas R Gooding
                          on behalf of Interested Party Excelsior Insurance Company dgooding@choate.com douglas-gooding-9991@ecf.pacerpro.com

Ellen M. Farrell
                          on behalf of Defendant Peerless Insurance Company emfarrell@mintz.com

Ellen M. Farrell
                          on behalf of Defendant Excelsior Insurance Company emfarrell@mintz.com

Ellen M. Farrell
                          on behalf of Defendant Liberty Mutual Insurance Company emfarrell@mintz.com

Everett J. Cygal
                          on behalf of Interested Party Catholic Mutual Relief Society of America ecygal@schiffhardin.com

Ford Elsaesser, Jr
                          on behalf of Notice of Appearance Creditor Parish Steering Committee felsaesser@eaidaho.com

Ford Elsaesser, Jr
                          on behalf of Interested Party Parish Steering Committee felsaesser@eaidaho.com

Fred Lichtmacher
                          on behalf of Interested Party Stephen M. Parisi empirestatt@aol.com

Fred Lichtmacher
                          on behalf of Interested Party Matthew Bojanowski empirestatt@aol.com

Garry M. Graber
                          on behalf of Notice of Appearance Creditor M&T Bank ggraber@hodgsonruss.com
                          mheftka@hodgsonruss.com;cnapiers@hodgsonruss.com

Garry M. Graber
                          on behalf of Respondent Foundation of the Roman Catholic Diocese of Buffalo New York ggraber@hodgsonruss.com,
                          mheftka@hodgsonruss.com;cnapiers@hodgsonruss.com

Garry M. Graber
                          on behalf of Special Counsel Hodgson Russ LLP ggraber@hodgsonruss.com
                          mheftka@hodgsonruss.com;cnapiers@hodgsonruss.com

Geoffrey M. Miller
                          on behalf of Interested Party Travelers Indemnity Company (successor in interest to Gulf Insurance Company)
                          geoffrey.miller@dentons.com docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                          on behalf of Interested Party Travelers Casualty and Surety Company (successor in interest to Aetna Casualty and Surety
                          Company) geoffrey.miller@dentons.com docket.general.lit.nyc@dentons.com



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Geoffrey M. Miller
                           on behalf of Defendant U.S. Fidelity and Guaranty Company geoffrey.miller@dentons.com docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Defendant Travelers Casualty and Surety Company (successor-in-interest to Aetna Casualty and Surety Company)
                           geoffrey.miller@dentons.com docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Interested Party St. Paul Fire and Marine Insurance Company geoffrey.miller@dentons.com
                           docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Interested Party St. Paul Fire and Marine Insurance Company St. Paul Mercury Insurance Company, Travelers
                           Casualty and Surety Company (successor in interest to Aetna Casualty and Surety Company), Travelers Indemnity
                           geoffrey.miller@dentons.com, docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Interested Party St. Paul Mercury Insurance Company geoffrey.miller@dentons.com
                           docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Defendant St. Paul Fire and Marine Insurance Company geoffrey.miller@dentons.com
                           docket.general.lit.nyc@dentons.com

Geoffrey M. Miller
                           on behalf of Interested Party U.S. Fidelity and Guaranty Company geoffrey.miller@dentons.com
                           docket.general.lit.nyc@dentons.com

Glenn Fencl
                           on behalf of Defendant The National Catholic Risk Retention Group fenclg@jbltd.com castom@jbltd.com

Grady Campion
                           on behalf of Interested Party Peerless Insurance Company grcampion@mintz.com EMFarrell@mintz.com

Grady Campion
                           on behalf of Interested Party Liberty Mutual Insurance Company grcampion@mintz.com EMFarrell@mintz.com

Grady Campion
                           on behalf of Defendant Liberty Mutual Insurance Company grcampion@mintz.com EMFarrell@mintz.com

Grady Campion
                           on behalf of Interested Party Excelsior Insurance Company grcampion@mintz.com EMFarrell@mintz.com

Grayson T. Walter
                           on behalf of Debtor The Diocese of Buffalo N.Y. gwalter@bsk.com, kdoner@bsk.com;CourtMail@bsk.com

Grayson T. Walter
                           on behalf of Plaintiff The Diocese of Buffalo N.Y. gwalter@bsk.com, kdoner@bsk.com;CourtMail@bsk.com

Harry Lee
                           on behalf of Defendant Zurich American Insurance Company hlee@steptoe.com

Harry Lee
                           on behalf of Defendant Providence Washington Insurance Company hlee@steptoe.com

Harry Lee
                           on behalf of Interested Party Providence Washington Insurance Company hlee@steptoe.com

Harry Lee
                           on behalf of Interested Party Zurich American Insurance Company hlee@steptoe.com

Harry Lee
                           on behalf of Interested Party American Guarantee and Liability Insurance Company hlee@steptoe.com

Heather M. Baumeister
                           on behalf of Notice of Appearance Creditor Richard LaPorta hbaumeister@lotempiopc.com

Heather M. Baumeister
                           on behalf of Notice of Appearance Creditor Hunter Cogi Wolfe hbaumeister@lotempiopc.com

Ilan D Scharf
                           on behalf of Interested Party Official Committee of Unsecured Creditors ischarf@pszjlaw.com
                           lcanty@pszjlaw.com;nrobinson@pszjlaw.com;bdassa@pszjlaw.com

Ilan D Scharf
                           on behalf of Creditor Committee Official Committee of Unsecured Creditors ischarf@pszjlaw.com
                           lcanty@pszjlaw.com;nrobinson@pszjlaw.com;bdassa@pszjlaw.com

Ilan D Scharf
                           on behalf of Interested Party The Official Committee of Unsecured Creditors ischarf@pszjlaw.com
                           lcanty@pszjlaw.com;nrobinson@pszjlaw.com;bdassa@pszjlaw.com

Ilan D Scharf



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                          on behalf of Notice of Appearance Creditor Official Committee of Unsecured Creditors ischarf@pszjlaw.com
                          lcanty@pszjlaw.com;nrobinson@pszjlaw.com;bdassa@pszjlaw.com

J. Michael Hayes
                          on behalf of Defendant JMH 100 Doe et al jmh@jmichaelhayes.com

James Carter, Jr
                          on behalf of Plaintiff The Diocese of Buffalo N.Y. jscarter@blankrome.com

James I. Stang
                          on behalf of Notice of Appearance Creditor Official Committee of Unsecured Creditors jstang@pszjlaw.com

James R Marsh
                          on behalf of Interested Party MLF Doe jamesmarsh@marsh.law

James R Murray
                          on behalf of Other Professional Blank Rome LLP jmurray@blankrome.com, edocketing@blankrome.com

Jay D. Kenigsberg
                          on behalf of Defendant Fireman's Fund Insurance Company jay.kenigsberg@rivkin.com

Jeffrey A. Carlino
                          on behalf of Interested Party Selective Insurance Company of New York jacarlino@kslnlaw.com dfwroblewski@kslnlaw.com

Jeffrey A. Carlino
                          on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                          jacarlino@kslnlaw.com dfwroblewski@kslnlaw.com

Jeffrey Austin Dove
                          on behalf of Counter-Claimant The Continental Insurance Company jdove@barclaydamon.com
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Defendant National Union Fire Insurance Company of Pittsburgh PA jdove@barclaydamon.com,
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Cross Defendant The Continental Insurance Company jdove@barclaydamon.com
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Cross Defendant National Union Fire Insurance Company of Pittsburgh PA jdove@barclaydamon.com,
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Defendant The Continental Insurance Company jdove@barclaydamon.com
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Notice of Appearance Creditor The Continental Insurance Company jdove@barclaydamon.com
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey Austin Dove
                          on behalf of Cross-Claimant National Union Fire Insurance Company of Pittsburgh PA jdove@barclaydamon.com,
                          avrooman@barclaydamon.com,jeffrey-dove-1212@ecf.pacerpro.com

Jeffrey D. Eaton
                          on behalf of Debtor The Diocese of Buffalo N.Y. jeaton@bsk.com, kdoner@bsk.com;tayers@bsk.com;CourtMail@bsk.com

Jeffrey F. Reina
                          on behalf of Defendant JMH 100 Doe et al jreina@lglaw.com, pjohnson@lglaw.com

Jeffrey L. Kingsley
                          on behalf of Notice of Appearance Creditor Wausau Underwriters Insurance Company jkingsley@goldbergsegalla.com
                          kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                          on behalf of Defendant Nationwide Insurance Company of America jkingsley@goldbergsegalla.com
                          kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                          on behalf of Defendant Wausau Underwriters Insurance Company jkingsley@goldbergsegalla.com kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                          on behalf of Cross Defendant Wausau Underwriters Insurance Company jkingsley@goldbergsegalla.com
                          kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                          on behalf of Defendant Employers Insurance Company of Wausau (f/k/a Employers Insurance of Wausau A Mutual Company
                          f/k/a Employers Mutual Liability Insurance Company of Wisconsin) jkingsley@goldbergsegalla.com
                          kallen@goldbergsegalla.com

Jeffrey L. Kingsley



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                              on behalf of Notice of Appearance Creditor Employers Insurance Company of Wausau (formerly known as Employers Insurance
                              of Wausau A Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                              jkingsley@goldbergsegalla.com kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                              on behalf of Cross Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A
                              Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                              jkingsley@goldbergsegalla.com kallen@goldbergsegalla.com

Jeffrey L. Kingsley
                              on behalf of Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A Mutual
                              Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin) jkingsley@goldbergsegalla.com
                              kallen@goldbergsegalla.com

Jeffrey Robert Anderson
                              on behalf of Notice of Appearance Creditor Certain Personal Injury Creditors jeff@andersonadvocates.com
                              therese@andersonadvocates.com;erin@andersonadvocates.com;stacey@andersonadvocates.com

Jeffrey Robert Anderson
                              on behalf of Interested Party Certain Abuse Survivors jeff@andersonadvocates.com
                              therese@andersonadvocates.com;erin@andersonadvocates.com;stacey@andersonadvocates.com

Jennifer Anne Ehman
                              on behalf of Defendant The National Catholic Risk Retention Group jae@hurwitzfine.com
                              kathik@hurwitzfine.com;donnab@hurwitzfine.com

Jillian Dennehy
                              on behalf of Interested Party TIG Insurance Company jillian.dennehy@kennedyslaw.com

Jillian Dennehy
                              on behalf of Defendant North River Insurance Company jillian.dennehy@kennedyslaw.com

Jillian Dennehy
                              on behalf of Interested Party North River Insurance Company jillian.dennehy@kennedyslaw.com

Jillian Dennehy
                              on behalf of Defendant U.S. Fire Insurance Company jillian.dennehy@kennedyslaw.com

Jillian Dennehy
                              on behalf of Defendant TIG Insurance Company (successor-in-interest to American Surety Company of New York)
                              jillian.dennehy@kennedyslaw.com

Jillian Dennehy
                              on behalf of Interested Party U.S. Fire Insurance Company jillian.dennehy@kennedyslaw.com

Jin Yan
                              on behalf of Interested Party Catholic Mutual Relief Society of America jin.yan@afslaw.com

John Maloney
                              on behalf of Interested Party Hartford Fire Insurance Company jmaloney@lawgmm.com

John Maloney
                              on behalf of Defendant The Hartford Financial Services Group (successor-in-interest to Hartford Accident and Indemnity
                              Company and Hartford Fire Insurance Company) jmaloney@lawgmm.com

John Maloney
                              on behalf of Interested Party Hartford Accident and Indemnity Company jmaloney@lawgmm.com

John A. Mueller
                              on behalf of Notice of Appearance Creditor The Eudists - Congregation of Jesus and Mary Inc. jmueller@lippes.com,
                              jtenczar@lippes.com

John A. Mueller
                              on behalf of Notice of Appearance Creditor Franciscan Friars - Our Lady of Angels Province Inc. jmueller@lippes.com,
                              jtenczar@lippes.com

John A. Mueller
                              on behalf of Notice of Appearance Creditor Oblates of St. Francis DeSales jmueller@lippes.com jtenczar@lippes.com

John A. Mueller
                              on behalf of Notice of Appearance Creditor St. Francis High School of Athol Springs N.Y. jmueller@lippes.com,
                              jtenczar@lippes.com

John D. Goetz
                              on behalf of Special Counsel Jones Day jdgoetz@jonesday.com nyeary@jonesday.com;mmelvin@jonesday.com

John D. Goetz
                              on behalf of Debtor The Diocese of Buffalo N.Y. jdgoetz@jonesday.com, nyeary@jonesday.com;mmelvin@jonesday.com

John Frederick O'Connor, Jr
                              on behalf of Defendant Zurich American Insurance Company joconnor@steptoe.com

John Frederick O'Connor, Jr



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                              on behalf of Defendant Providence Washington Insurance Company joconnor@steptoe.com

John Frederick O'Connor, Jr
                              on behalf of Interested Party Providence Washington Insurance Company joconnor@steptoe.com

John Frederick O'Connor, Jr
                              on behalf of Interested Party Zurich American Insurance Company joconnor@steptoe.com

John Frederick O'Connor, Jr
                              on behalf of Interested Party American Guarantee and Liability Insurance Company joconnor@steptoe.com

John J. Flaherty
                              on behalf of Defendant JMH 100 Doe et al flarelaw@gmail.com, joanneaschultz@aol.com

John Ryan Ewell
                              on behalf of Notice of Appearance Creditor NGM Insurance Company jewell@gerberciano.com

Jonathan Schapp
                              on behalf of Defendant Employers Insurance Company of Wausau (f/k/a Employers Insurance of Wausau A Mutual Company
                              f/k/a Employers Mutual Liability Insurance Company of Wisconsin) jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A Mutual
                              Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin) jschapp@goldbergsegalla.com
                              kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Cross Defendant Wausau Underwriters Insurance Company jschapp@goldbergsegalla.com
                              kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Defendant Wausau Underwriters Insurance Company jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Cross Defendant Employers Insurance Company of Wausau (formally known as Employers Insurance of Wausau A
                              Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                              jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Notice of Appearance Creditor Employers Insurance Company of Wausau (formerly known as Employers Insurance
                              of Wausau A Mutual Company formerly known as Employers Mutual Liability Insurance Company of Wisconsin)
                              jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Defendant Nationwide Insurance Company of America jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Notice of Appearance Creditor Wausau Underwriters Insurance Company jschapp@goldbergsegalla.com
                              kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Interested Party Nationwide Mutual Insurance Company (f/k/a Farm Bureau Mutual Automobile Insurance Company)
                              jschapp@goldbergsegalla.com kallen@goldbergsegalla.com

Jonathan Schapp
                              on behalf of Interested Party Nationwide Insurance Company of America jschapp@goldbergsegalla.com
                              kallen@goldbergsegalla.com

Jonathan D Marshall
                              on behalf of Defendant Liberty Mutual Insurance Company jmarshall@choate.com jonathan-marshall-4638@ecf.pacerpro.com

Jonathan D Marshall
                              on behalf of Interested Party Peerless Insurance Company jmarshall@choate.com jonathan-marshall-4638@ecf.pacerpro.com

Jonathan D Marshall
                              on behalf of Interested Party Excelsior Insurance Company jmarshall@choate.com jonathan-marshall-4638@ecf.pacerpro.com

Jonathan D Marshall
                              on behalf of Interested Party Liberty Mutual Insurance Company jmarshall@choate.com
                              jonathan-marshall-4638@ecf.pacerpro.com

Joseph Mark Fisher
                              on behalf of Interested Party Catholic Mutual Relief Society of America mfisher@schiffhardin.com

Joseph Mark Fisher
                              on behalf of Defendant Catholic Mutual Group mfisher@schiffhardin.com

Joseph W. Allen
                              USTPRegion02.bu.ecf@usdoj.gov Joseph.W.Allen@usdoj.gov

Judith Treger Shelton
                              on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                              jtshelton@kslnlaw.com



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Judith Treger Shelton
                            on behalf of Interested Party Selective Insurance Company of New York jtshelton@kslnlaw.com

Karen M Dixon
                            on behalf of Defendant Great American Insurance Company (successor-in-interest to Agricultural Insurance Company)
                            kdixon@skarzynski.com

Kathleen Thomas
                            on behalf of Notice of Appearance Creditor Certain Personal Injury Creditors kat@tlclawllc.com

Kevin R. Lelonek
                            on behalf of Defendant Catholic Mutual Group klelonek@gross-shuman.com rrottaris@gross-shuman.com

Kevin T. Stocker
                            on behalf of Creditor KS-Doe-1 et al kstockeresq@yahoo.com

Kevin T. Stocker
                            on behalf of Respondent KS-Doe-1 et al kstockeresq@yahoo.com

Laura Anne Brady
                            on behalf of Interested Party Selective Insurance Company of New York lbrady@cmg.law

Laura Anne Brady
                            on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                            lbrady@coughlinduffy.com

Laura B. Stephens
                            on behalf of Interested Party Peerless Insurance Company lbstephens@mintz.com

Laura B. Stephens
                            on behalf of Interested Party Liberty Mutual Insurance Company lbstephens@mintz.com

Laura B. Stephens
                            on behalf of Interested Party Excelsior Insurance Company lbstephens@mintz.com

Laura B. Stephens
                            on behalf of Defendant Liberty Mutual Insurance Company lbstephens@mintz.com

Lauren Lifland
                            on behalf of Notice of Appearance Creditor The Continental Insurance Company lauren.lifland@wilmerhale.com

Lee E. Woodard
                            on behalf of Notice of Appearance Creditor USA Northeast Province of the Society of Jesus bkemail@harrisbeach.com
                            efilings@harrisbeach.com;broy@harrisbeach.com;bmahoney@HarrisBeach.com;KMeans@HarrisBeach.com

Linda H. Joseph
                            on behalf of Interested Party Michael Harrington ljoseph@sjalegal.com cbinkowski@sjalegal.com

Linda Singer Roth
                            on behalf of Interested Party Sisters of Good Shepherd and the Roman Catholic Religious Institute of the Religious of the Good
                            Shepherd lroth@archerlaw.com

Lorraine Armenti
                            on behalf of Defendant Arrowood Indemnity Company (successor-in-interest to American and Foreign Insurance Company Eagle
                            Indemnity Company of New York, Globe Indemnity Company, Phoenix Assurance Company of NY, New Am larmenti@cmg.law

Louis J. Testa
                            on behalf of Notice of Appearance Creditor New York State Office of Parks Recreation & Historic Preservation
                            louis.testa@ag.ny.gov

Louis J. Testa
                            on behalf of Notice of Appearance Creditor People of the State of New York louis.testa@ag.ny.gov

M. Paul Gorfinkel
                            on behalf of Notice of Appearance Creditor Utica Mutual Insurance Company paul.gorfinkel@rivkin.com

M. Paul Gorfinkel
                            on behalf of Notice of Appearance Creditor Sentry Insurance Company as successor to Middlesex Mutual Insurance Company
                            paul.gorfinkel@rivkin.com

Margaret F. Catalano
                            on behalf of Defendant TIG Insurance Company (successor-in-interest to American Surety Company of New York)
                            meg.catalano@kennedyscmk.com

Margaret F. Catalano
                            on behalf of Interested Party TIG Insurance Company meg.catalano@kennedyscmk.com

Margaret F. Catalano
                            on behalf of Defendant North River Insurance Company meg.catalano@kennedyscmk.com

Margaret F. Catalano
                            on behalf of Defendant U.S. Fire Insurance Company meg.catalano@kennedyscmk.com




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Margaret F. Catalano
                          on behalf of Interested Party U.S. Fire Insurance Company meg.catalano@kennedyscmk.com

Margaret F. Catalano
                          on behalf of Interested Party North River Insurance Company meg.catalano@kennedyscmk.com

Marianne May
                          on behalf of Notice of Appearance Creditor Century Indemnity Company marianne.may@clydeco.us

Marianne May
                          on behalf of Interested Party Century Indemnity as successor in interest to Insurance Company of North America, as successor in
                          interest to Indemnity Insurance Company of North America marianne.may@clydeco.us

Marianne May
                          on behalf of Defendant Insurance Company of North America marianne.may@clydeco.us

Marianne May
                          on behalf of Defendant Indemnity Insurance Company of North America marianne.may@clydeco.us

Marianne May
                          on behalf of Defendant Century Indemnity Company marianne.may@clydeco.us

Marianne May
                          on behalf of Interested Party U.S. Fire Insurance Company marianne.may@clydeco.us

Marianne May
                          on behalf of Defendant Ace Property and Casualty Insurance (successor-in-interest to Aetna Insurance Company)
                          marianne.may@clydeco.us

Marianne May
                          on behalf of Interested Party Aetna Insurance Company f/k/a CIGNA Property & Casualty Insurance Company and n/k/a ACE
                          Property & Casualty Insurance Company marianne.may@clydeco.us

Marianne May
                          on behalf of Defendant Federal Insurance Company marianne.may@clydeco.us

Marianne May
                          on behalf of Interested Party Pacific Employers Insurance Company marianne.may@clydeco.us

Mark D. Plevin
                          on behalf of Defendant The Continental Insurance Company mplevin@crowell.com

Mark D. Plevin
                          on behalf of Counter-Claimant The Continental Insurance Company mplevin@crowell.com

Mark D. Plevin
                          on behalf of Notice of Appearance Creditor The Continental Insurance Company mplevin@crowell.com

Martin A. Mooney
                          on behalf of Creditor Santander Consumer USA Inc. dba Chrysler Capital as servicer for CCAP Auto Lease Ltd.
                          lgadomski@schillerknapp.com kcollins@schillerknapp.com;TJohnson@schillerknapp.com

Martin A. Mooney
                          on behalf of Notice of Appearance Creditor New York State Office of Parks Recreation & Historic Preservation
                          Martin.Mooney@ag.ny.gov, kcollins@schillerknapp.com;TJohnson@schillerknapp.com

Meghan Hayes
                          on behalf of Interested Party Boys and Girls Club of Jamestown Inc. mhayes@websterszanyi.com,
                          jconnors@websterszanyi.com;efile@websterszanyi.com

Michael Margulies
                          on behalf of Defendant National Union Fire Insurance Company of Pittsburgh PA mmargulies@carltonfields.com

Michael A. Morgan
                          on behalf of Notice of Appearance Creditor Archbishop Walsh High School and Archbishop Walsh Foundation
                          mmorgan@morganlaw.biz

Michael M. Marick
                          on behalf of Defendant Great American Insurance Company (successor-in-interest to Agricultural Insurance Company)
                          mmarick@skarzynski.com

Michael T. Glascott
                          on behalf of Defendant Unigard Insurance Company (successor-in-interest to Jamestown Mutual Insurance Company)
                          mglascott@goldbergsegalla.com

Miranda Turner
                          on behalf of Notice of Appearance Creditor The Continental Insurance Company mturner@crowell.com

Miranda Turner
                          on behalf of Defendant The Continental Insurance Company mturner@crowell.com

Miranda Turner
                          on behalf of Cross Defendant The Continental Insurance Company mturner@crowell.com



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Miranda Turner
                           on behalf of Counter-Claimant The Continental Insurance Company mturner@crowell.com

Mitchell Garabedian
                           on behalf of Creditor Richard Brownell mgarabedian@garabedianlaw.com

Mitchell Garabedian
                           on behalf of Creditor Wayne Bortle mgarabedian@garabedianlaw.com

Mitchell Garabedian
                           on behalf of Interested Party Richard Brownell mgarabedian@garabedianlaw.com

Mitchell Garabedian
                           on behalf of Creditor Gail Holler-Kennedy mgarabedian@garabedianlaw.com

Mitchell Garabedian
                           on behalf of Creditor Carolyn Anderson mgarabedian@garabedianlaw.com

Nancy D Adams
                           on behalf of Interested Party Excelsior Insurance Company ndadams@mintz.com

Nancy D Adams
                           on behalf of Interested Party Liberty Mutual Insurance Company ndadams@mintz.com

Nancy D Adams
                           on behalf of Defendant Liberty Mutual Insurance Company ndadams@mintz.com

Nancy D Adams
                           on behalf of Interested Party Peerless Insurance Company ndadams@mintz.com

Neil J. Smith
                           on behalf of Notice of Appearance Creditor Our Lady of Victory Institutions Inc nsmith@mackenziehughes.com,
                           mallen@mackenziehughes.com

Nora Anne Valenza-Frost
                           on behalf of Defendant National Union Fire Insurance Company of Pittsburgh PA nvalenza-frost@carltonfields.com

Peter Keane
                           on behalf of Notice of Appearance Creditor Official Committee of Unsecured Creditors pkeane@pszjlaw.com

Peter P. McNamara
                           on behalf of Defendant Fireman's Fund Insurance Company peter.mcnamara@rivkin.com

Randall D. White
                           on behalf of Special Counsel Connors LLP rdw@connors-vilardo.com sb@connors-vilardo.com;ebh@connors-vilardo.com

Raymond L. Fink
                           on behalf of Notice of Appearance Creditor Catholic Charities of Buffalo N.Y. rfink@lippes.com, jmueller@lippes.com

Rick Weisbeck, Jr
                           on behalf of Defendant JMH 100 Doe et al rweisbeck@lglaw.com

Rick Weisbeck, Jr
                           on behalf of Attorney Lipsitz Green Scime Cambria LLP rweisbeck@lglaw.com

Robert Sweeney
                           on behalf of Interested Party Certain Underwriters at Lloyd's London robert.sweeney@clydeco.us

Robert Sweeney
                           on behalf of Defendant Certain Underwriters at Lloyds London and Certain London Market Companies
                           robert.sweeney@clydeco.us

Robert Gerard Scumaci
                           on behalf of Debtor The Diocese of Buffalo N.Y. rscumaci@gmclaw.com, lmarkowski@gmclaw.com

Robert Gerard Scumaci
                           on behalf of Special Counsel Gibson McAskill & Crosby, LLP rscumaci@gmclaw.com, lmarkowski@gmclaw.com

Robert J. Feldman
                           on behalf of Interested Party Catholic Mutual Relief Society of America rfeldman@gross-shuman.com
                           lspula@gross-shuman.com

Robert J. Feldman
                           on behalf of Cross Defendant Catholic Mutual Group rfeldman@gross-shuman.com lspula@gross-shuman.com

Robert J. Feldman
                           on behalf of Defendant Catholic Mutual Group rfeldman@gross-shuman.com lspula@gross-shuman.com

Robert Kevin Malone
                           on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                           rmalone@gibbonslaw.com

Robert Kevin Malone



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                               on behalf of Interested Party Selective Insurance Company of New York rmalone@gibbonslaw.com

Robert Wagner DiUbaldo
                               on behalf of Defendant National Union Fire Insurance Company of Pittsburgh PA rdiubaldo@carltonfields.com

Robert Wagner DiUbaldo
                               on behalf of Interested Party National Union Fire Insurance Company of Pittsburgh Pa. rdiubaldo@carltonfields.com

SCOTT BOGUCKI
                               on behalf of Creditor Committee Official Committee of Unsecured Creditors sbogucki@gmwlawyers.com
                               boguckisr48948@notify.bestcase.com;jsymack@gmwlawyers.com;lsachdev@gmwlawyers.com

SCOTT BOGUCKI
                               on behalf of Interested Party The Official Committee of Unsecured Creditors sbogucki@gmwlawyers.com
                               boguckisr48948@notify.bestcase.com;jsymack@gmwlawyers.com;lsachdev@gmwlawyers.com

SCOTT BOGUCKI
                               on behalf of Notice of Appearance Creditor Official Committee of Unsecured Creditors sbogucki@gmwlawyers.com
                               boguckisr48948@notify.bestcase.com;jsymack@gmwlawyers.com;lsachdev@gmwlawyers.com

Sara C. Temes
                               on behalf of Debtor The Diocese of Buffalo N.Y. stemes@bsk.com, CourtMail@bsk.com;kdoner@bsk.com

Sharon Angelino
                               on behalf of Defendant Unigard Insurance Company (successor-in-interest to Jamestown Mutual Insurance Company)
                               sangelino@goldbergsegalla.com

Sharon Angelino
                               on behalf of Interested Party QBE Insurance Corporation as successor-in-interest to Unigard Insurance Company
                               (successor-in-interest to Jamestown Mutual Insurance Company) sangelino@goldbergsegalla.com

Siobhain Patricia Minarovich
                               on behalf of Defendant Fireman's Fund Insurance Company siobhain.minarovich@rivkin.com

Stacey Benson
                               on behalf of Notice of Appearance Creditor Certain Personal Injury Creditors stacey@andersonadvocates.com
                               erin@andersonadvocates.com;therese@andersonadvocates.com

Stephen Boyd
                               on behalf of Notice of Appearance Creditor AB 1 Doe sboyd@steveboyd.com rmatuzic@steveboyd.com

Stephen A. Donato
                               on behalf of Attorney Bond Schoeneck & King, PLLC sdonato@bsk.com,
                               ayerst@bsk.com;kdoner@bsk.com;CourtMail@bsk.com

Stephen A. Donato
                               on behalf of Debtor The Diocese of Buffalo N.Y. sdonato@bsk.com, ayerst@bsk.com;kdoner@bsk.com;CourtMail@bsk.com

Stephen A. Donato
                               on behalf of Plaintiff The Diocese of Buffalo N.Y. sdonato@bsk.com, ayerst@bsk.com;kdoner@bsk.com;CourtMail@bsk.com

Stephen A. Donato
                               on behalf of Counter-Defendant The Diocese of Buffalo N.Y. sdonato@bsk.com,
                               ayerst@bsk.com;kdoner@bsk.com;CourtMail@bsk.com

Stephen Andrew Sharkey
                               on behalf of Debtor The Diocese of Buffalo N.Y. ssharkey@bsk.com, rhynes@bsk.com;mbrady@bsk.com

Steven Gary Adams
                               on behalf of Defendant Arrowood Indemnity Company (successor-in-interest to American and Foreign Insurance Company Eagle
                               Indemnity Company of New York, Globe Indemnity Company, Phoenix Assurance Company of NY, New Am sadams@cmg.law,
                               dclare@cmg.law

Steven M. Cohen
                               on behalf of Interested Party HW 1 Doe et al scohen@hoganwillig.com,
                               ssweeney@tiveronlaw.com;hdavern@tiveronlaw.com;abanks@tiveronlaw.com;kakin@tiveronlaw.com;abanks@tiveronlaw.com

Stuart I. Gordon
                               on behalf of Notice of Appearance Creditor Sentry Insurance Company as successor to Middlesex Mutual Insurance Company
                               stuart.gordon@rivkin.com

Stuart I. Gordon
                               on behalf of Notice of Appearance Creditor Hanover Insurance Company stuart.gordon@rivkin.com

Stuart I. Gordon
                               on behalf of Notice of Appearance Creditor Utica Mutual Insurance Company stuart.gordon@rivkin.com

Tancred Schiavoni
                               on behalf of Interested Party Century Indemnity as successor in interest to Insurance Company of North America, as successor in
                               interest to Indemnity Insurance Company of North America tschiavoni@omm.com, tancred-schiavoni-9326@ecf.pacerpro.com

Tancred Schiavoni
                               on behalf of Interested Party Aetna Insurance Company f/k/a CIGNA Property & Casualty Insurance Company and n/k/a ACE



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                          Property & Casualty Insurance Company tschiavoni@omm.com tancred-schiavoni-9326@ecf.pacerpro.com

Tancred Schiavoni
                          on behalf of Interested Party Pacific Employers Insurance Company tschiavoni@omm.com
                          tancred-schiavoni-9326@ecf.pacerpro.com

Tancred Schiavoni
                          on behalf of Interested Party U.S. Fire Insurance Company tschiavoni@omm.com tancred-schiavoni-9326@ecf.pacerpro.com

Tanya Mascarich
                          on behalf of Defendant Arrowood Indemnity Company (successor-in-interest to American and Foreign Insurance Company Eagle
                          Indemnity Company of New York, Globe Indemnity Company, Phoenix Assurance Company of NY, New Am
                          tmascarich@cmg.law

Tanya Mascarich
                          on behalf of Interested Party Arrowood Indemnity Company successor-in-interest to American and Foreign Insurance Company
                          Eagle Indemnity Company of New York, Globe Indemnity Co tmascarich@cmg.law

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Leos Roman Catholic Society of Eggertsville N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Thomas More Ripley tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Pompeii Roman Catholic Church of Lancaster tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Loretto Roman Catholic Church Society tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Judes Roman Catholic Church Society of Sardinia New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Holy Family Roman Catholic Church Society of the City of Buffalo n/k/a Our Lady of Charity Catholic
                          Parish tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Bosco Roman Catholic Church Society of Sheridan N.Y. n/k/a Our Lady of Mount Carmel Roman
                          Catholic Church Society of Silver Creek, N.Y., tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Mary of Immaculate Conception RCC Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis of Assisi Roman Catholic Church Society of Buffalo n/k/a St. Katharine Drexel Roman Catholic
                          Church Society of Buffalo N.Y tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Gabriels Roman Catholic Church Society of Blossom tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church of Niagara Falls N.Y. n/k/a Holy Family of Jesus, Mary, and Joseph
                          Roman Catholic Church of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Luke R.C. Church Society of Buffalo NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Lawrences Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Gowanda N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff All Saints Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Batavia N.Y. n/k/a Resurrection Roman Catholic Parish of
                          Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Victory National Shrine Lackawanna tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com




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Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Society of Buffalo NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Holy Cross Roman Catholic Church Society of Salamanca New York n/k/a St. Patricks Roman Catholic
                          Church Society of Limestone, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Catholic Church Society of East Eden n/k/a St. John Baptists Rom. Cath. Church Society of
                          Boston N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Assumption Roman Catholic Church Society of Portageville N.Y. n/k/a Saint Isidore Roman Catholic
                          Parish of Perry, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Visitation Roman Catholic Church Society of Buffalo N.Y. n/k/a St. Katharine Drexel Roman Catholic
                          Church Society of Buffalo N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Gerards Roman Catholic Church Society of Buffalo N.Y. n/k/a Blessed Trinity Roman Catholic
                          Church Society of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Martins Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Leos Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Perry (Wyom. Co. NY) n/k/a Saint Isidore Roman Catholic
                          Parish of Perry tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patricks Roman Catholic Church Society of Randolph N. Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of North Tonawanda New York n/k/a Our Lady of
                          Czestochowa Roman Catholic Church Society of North Tonawanda, New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Cath. Church of Holland tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Immaculate Heart of Mary Roman. Catholic Church Society of Buffalo New York n/k/a St. Aloysius
                          Gonzaga Roman Catholic Church Society of Cheektowaga, New York, Incorporated tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Queen of Peace Roman Catholic Church Society of Buffalo n/k/a Saint John Gualbertus Roman Catholic
                          Church Society of Cheektowaga Erie Co., N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff SS. Peter and Paul Roman Catholic Church Society of Depew New York n/k/a Our Lady of Pompeii Roman
                          Catholic Church of Lancaster tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Lebanon Roman Catholic Church Society of Niagara Falls n/k/a Divine Mercy Roman Catholic
                          Parish of Niagara Falls N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Pacificus Church & Cemetery Association of Humphrey n/k/a The Holy Name of Mary Roman Catholic
                          Church Society of Ellicottville N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Baptist R.C. Church Society of Alden Center New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Strykersville n/k/a St. John Neumann Roman Catholic Church
                          of Wyoming County tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Holy Fourteen Helpers of the Town of West Seneca Middle Ebenezer tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Timothys Roman Catholic Church Society of Tonawanda N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com




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Timothy Patrick Lyster
                          on behalf of Plaintiff The St. John Baptists Society North Buffalo n/k/a Assumption Roman Catholic Church Society of Buffalo
                          N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Amelias Roman Catholic Church Society of the Town of Tonawanda N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of the Sacred Heart of Jesus R.C. Church Society tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of Heaven Roman Catholic Church Society of West Seneca New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patrick Roman Catholic Church Society of Hartland n/k/a Our Lady of the Lake Roman Catholic Parish
                          of Barker and Lyndonville N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stanislaus Kostkas Roman Catholic Church Society of Niagara Falls N.Y. n/k/a Divine Mercy Roman
                          Catholic Parish of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Immaculate Conception Roman Catholic Church Society of Cassadaga N.Y. n/k/a Saint Anthonys Roman
                          Catholic Church Society of Fredonia New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Blessed Trinity Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Czestochowa Roman Catholic Church Society of Forks Cheektowaga
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Evangelist Roman Catholic Church Society of Sinclairville N.Y. n/k/a Saint Anthonys Roman
                          Catholic Church Society of Fredonia tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Grace Roman Catholic Church Society of Woodlawn New York n/k/a Queen of Angels R.C.
                          Church of Lackawanna, NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Brigids Roman Catholic Church Society of Bergen N.Y., formerly known as St. Bridget Bergen
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Rose of Lima Roman Catholic Church of Forestville n/k/a Our Lady of Mount Carmel Roman Catholic
                          Church Society of Silver Creek N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Thomas More Ripley n/k/a St. Dominic Roman Catholic Church of Chautauqua County
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Georges Roman Catholic Church Society of Niagara Falls N.Y. n/k/a Divine Mercy Roman Catholic
                          Parish of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Blessed Sacrament Roman Catholic Church Society of Andover tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Martins Church Society Langford Erie County n/k/a Epiphany of Our Lord Roman Catholic Parish
                          Community Langford, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Suspension Bridge N.Y., Niagara Falls n/k/a St. Raphaels
                          Roman Catholic Parish of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Lime Rock New York n/k/a Our Lady of Mercy Roman
                          Catholic Parish of LeRoy, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Catholic Church Society of Pavilion N.Y. n/k/a Mary Immaculate Roman Catholic Parish of
                          Pavilion, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Lackawanna New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com



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Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Czestochowa Roman Catholic Church Society of North Tonawanda New York
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Assumption Roman Catholic Church Society of Albion n/k/a Holy Family Roman Catholic Parish of
                          Albion N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. James Roman Catholic Church Society of Depew N.Y., n/k/a Blessed Mother Teresa of Calcutta Roman
                          Catholic Parish of Depew, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Matthews Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Sacred Heart of Jesus Roman Catholic Church Society of Dunkirk New York tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Cantius R.C. Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Mount Carmel Roman Catholic Church Society of Niagara Falls New York n/k/a Holy Family
                          of Jesus, Mary, and Joseph Roman Catholic Church of Niagara Falls, N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Casimirs Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Immaculate Conception Rom. Catholic Church Society of Buffalo n/k/a Holy Cross Roman Catholic Church
                          Society of Buffalo New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Leos Roman Catholic Church Society of Niagara Falls N.Y. n/k/a St. Vincent de Paul Roman Catholic
                          Parish of Niagara Falls, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Immaculate Conception East Bethany n/k/a Mary Immaculate Roman Catholic Parish of Pavilion, N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sts. Peter and Paul R. C. Church Society Arcade New York n/k/a St. Mary Roman Catholic Church Society
                          of Arcade, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Baptist Roman Catholic Church Society of Carrollton Vandalia n/k/a St. Bonaventures Roman
                          Catholic Church Society of Allegany tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis of Assisi Roman Catholic Church Society of Athol Springs New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Michaels Roman Catholic Church Society of Warsaw N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patricks Roman Catholic Church Society of Limestone N.Y. n/k/a Our Lady of Peace Salamanca
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Valentines Roman Catholic Church Society of Buffalo n/k/a St. Clare Roman Catholic Church Society of
                          Buffalo N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bernadette R.C. Church Society of Armor NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Mount Carmel Roman Catholic Church Society of Silver Creek N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Ambroses Roman Catholic Church of Buffalo n/k/a Our Lady of Charity Catholic Parish
                          tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Blessed Sacrament Roman Catholic Church Society of Delevan N.Y. n/k/a St. Mary Roman Catholic
                          Church Society of Arcade, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster



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                          on behalf of Plaintiff Prince of Peace of Roman Catholic Church Society and St. Charles Borromeo Chapel n/k/a St. Vincent de
                          Paul Roman Catholic Parish of Niagara Falls New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. James Roman Catholic Church Society of Jamestown N.Y. n/k/a Holy Apostles Roman Catholic Parish
                          of Jamestown, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Mother of Good Counsel R.C. Church Society Inc. tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Leo the Great Roman Catholic Church Amherst, New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Sacred Heart of Jesus Roman Catholic Church Society of Batavia New York n/k/a Ascension Roman
                          Catholic Parish of Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Little Valley N.Y. n/k/a St. Marys Roman Catholic Church
                          Society of Cattaraugus, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of the Rosary Roman Catholic Church Society of Niagara Falls N.Y. n/k/a Divine Mercy Roman
                          Catholic Parish of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Cross Roman Catholic Church Society of Buffalo New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Teresa of Avila Roman Catholic Church of Akron NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Perpetual Help Roman Catholic Church Society of Lakeview n/k/a Blessed John Paul II Roman
                          Catholic Parish Community tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff S. S. Peter & Pauls German Catholic Church Hamburg N.Y. tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bonaventures Roman Catholic Church Society of Allegany tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Nativity Roman Catholic Church Society of Orchard Park New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Charles Borromeo Roman Catholic Church of Olcott n/k/a St. Brendan on the Lake Roman Catholic
                          Parish of Newfane, Olcott, and Wilson tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Nicholas Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Church Society n/k/a The St. John the Baptist Roman Cath Congregation
                          tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Medina N.Y. n/k/a Holy Trinity Roman Catholic Church of
                          Medina, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Perpetual Help Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bartholomews R.C. Church Society of Buffalo NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Edmunds Roman Catholic Church Society of Tonawanda N.Y. n/k/a St. Christophers Roman Catholic
                          Church Society of Tonawanda tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Anthonys Roman Catholic Church Society of Farnham New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster



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Date Rcvd: Oct 20, 2023                                     Form ID: trscript                                                         Total Noticed: 1
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Bliss N.Y. n/k/a Saint Isidore Roman Catholic Parish of
                          Perry, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Victory Roman Catholic Church Society of Frewsburg N.Y. n/k/a St. James Roman Catholic
                          Church Society of Jamestown, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Vianney Roman Catholic Church Society of Orchard Park N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Cecilias Roman Catholic Church Society of Oakfield New York n/k/a Saint Padre Pio Roman Catholic
                          Parish tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Vincents Roman Catholic Church Society of North Evans n/k/a Saint John Paul II Roman Catholic Parish
                          Community tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Patricks Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patricks Roman Catholic Church Society of Salamanca N.Y. n/k/a Our Lady of Peace Roman Catholic
                          Parish of Salamanca, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Rom. Cath. Church Society of Batavia N.Y., n/k/a Resurrection Roman Catholic Parish of
                          Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Fatima Roman Catholic Church Society of Elba New York n/k/a Saint Padre Pio Roman
                          Catholic Parish tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Vincents Roman Catholic Church of Springbrook N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bonaventures Roman Catholic Church Society of West Seneca N.Y. n/k/a Saint John XXIII Roman
                          Catholic Parish of West Seneca, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Church of St. John Baptist of West Valley N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Church of Christ the King tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint John Gualbertus Roman Catholic Church Society of Cheektowaga Erie Co., N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stanislaus Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Mother of Good Counsel Roman Catholic Church Society of Blasdell N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Immaculate Conception Roman Catholic Church Society of Eden Center N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Mt. Carmel Roman Catholic Church Society of Brant New York n/k/a Saint Anthonys Roman
                          Catholic Church Society of Farnham, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Georges Roman Catholic Church Society of Jewettville New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John's Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Michaels Roman Catholic Church Society of South Byron n/k/a St. Brigids Roman Catholic Church
                          Society of Bergen N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Bernards Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster



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Date Rcvd: Oct 20, 2023                                     Form ID: trscript                                                        Total Noticed: 1
                          on behalf of Plaintiff St. Johns Roman Catholic Church Society of Jamestown n/k/a Holy Apostles Roman Catholic Parish of
                          Jamestown N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Belmont N.Y. n/k/a Holy Family of Jesus, Mary, and Joseph
                          Roman Catholic Church Society of Belmont, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. James Major Roman Catholic Church Society of Westfield N.Y. n/k/a St. Dominic Roman Catholic
                          Church of Chautauqua tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Blessed Sacrament Roman Catholic Church Society of Tonawanda tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Cecilias Church Sheldon n/k/a St. John Neumann Roman Catholic Church of Wyoming County
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Michaels Roman Catholic Church Society of Buffalo NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Church of the Redemptorists of Buffalo NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Ascension Roman Catholic Church Society of North Tonawanda n/k/a Saint Jude the Apostle Roman
                          Catholic Parish of North Tonawanda New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John of the Cross Whitesville tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys of the Lake Roman Catholic Church Society of Mount Vernon Hamburg
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Andrews Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Baptist Roman Catholic Church Kenmore, N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Church of the Assumption of Lancaster N.Y. tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs R.C. Church tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Agnes Catholic Church Society Buffalo n/k/a St. Katharine Drexel Roman Catholic Church Society of
                          Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Patricks Roman Catholic Church Society Fillmore tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of Heaven Roman Catholic Church Society Inc. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society Silver Springs N.Y. n/k/a Saint Isidore Roman Catholic Parish of
                          Perry New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Lucys Roman Catholic Church tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bernards Roman Catholic Church Society of Youngstown N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Nativity of the Blessed Virgin Mary Roman Catholic Church Society of Harris Hill N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Brigid Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Infant of Prague Roman Catholic Church Society of Cheektowaga New York tlyster@woodsoviatt.com,



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                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Sacred Heart R.C. Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Assumption Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis of Assisi Roman Catholic Church Society of Corfu New York n/k/a Saint Maximilian Kolbe
                          Roman Catholic Parish of Corfu, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Assumption Hungarian R.C. Church Society of Lackawanna tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Bridgets Roman Catholic Church Society of Newfane N.Y. n/k/a St. Brendan on the Lake Roman
                          Catholic Parish of Newfane, Olcott tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Czestochowa R.C. Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of All Saints Lackawanna tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church of Fredonia N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Fisher Roman Catholic Church Society of South Dayton N.Y. n/k/a St. Josephs Roman Catholic
                          Church Society of Gowanda, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Holley tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Friendship n/k/a Our Lady of Angels Roman Catholic
                          Church Society of Cuba tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Family Roman Catholic Church Society of Machias N.Y. n/k/a St. Philomena's Roman Catholic
                          Church Society of Franklinville, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart of Jesus Roman Catholic Church Society of Bowmansville N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Isidores Roman Catholic Church Society of East Otto N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephats Roman Catholic Church of Cheektowaga N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Baptist Roman Catholic Church Society of Carrollton n/k/a St. Bonaventures Roman Catholic
                          Church Society of Allegany tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Roman Catholic Church of St. Marys n/k/a St. Mary Roman Catholic Church Society of Arcade N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff All Saints Roman Catholic Parish of Lockport New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis de Sales Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Louis Roman Catholic Church of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stephens Rom. Cath. Church Society of Buffalo n/k/a St. Clare Roman Catholic Church Society of
                          Buffalo N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster



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                          on behalf of Plaintiff St. Marks Roman Catholic Church Society of Rushford N.Y. n/k/a St. Patricks Roman Catholic Church
                          Society of Belfast, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stanislaus Kostkas Roman Catholic Church Society of Perry N.Y. n/k/a Saint Isidore Roman Catholic
                          Parish of Perry, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Rose of Lima Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Blessed Sacrament R.C. Church Society of Tonawanda Township tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Maron Roman Catholic Church Society of Buffalo New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Catholic Society of St. Marys Church Lockport, NY n/k/a All Saints Roman Catholic Parish of Lockport,
                          New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Lourdes Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Helens Church n/k/a St. Johns Roman Catholic Church Society of Olean N.Y tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Mayville N.Y. n/k/a St. Mary of Lourdes Roman Catholic
                          Church Society of Chautauqua tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Immaculate Conception Roman Catholic Church Society of East Aurora N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Hyacinths Roman Catholic Church Society of Lackawanna n/k/a Queen of Angels R.C. Church of
                          Lackawanna NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Resurrection Roman Catholic Church Society of Cheektowaga New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Scio N.Y. n/k/a Holy Family of Jesus, Mary, and Joseph
                          Roman Catholic Church Society of Belmont, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joseph Roman Catholic Church Society of Albion New York n/k/a Holy Family Roman Catholic Parish
                          of Albion, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Vincents Roman Catholic Church Society of Attica N.Y. n/k/a SS. Joachim & Anne Roman Catholic
                          Church of Attica, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Bolivar New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of the Angels Roman Catholic Church Society of Cuba tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Trinity Roman Catholic Church Society of Niagara Falls N.Y. n/k/a Divine Mercy Roman Catholic
                          Parish of Niagara Falls, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Angelica N.Y. n/k/a Holy Family of Jesus, Mary, and
                          Joseph Roman Catholic Church Society of Belmont, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Teresas Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Church of St. Mary of Sorrows n/k/a Sts. Columba-Brigid Roman Catholic Church of Buffalo N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Holy Name of Mary Roman Catholic Church Society of East Pembroke N.Y. n/k/a Saint Maximilian



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                          Kolbe Roman Catholic Parish of Corfu, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marks Roman Catholic Church Society of Buffalo N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Roman Catholic Church of St. Franciscus Xavarius Buffalo n/k/a Assumption Roman Catholic Church
                          Society of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady Help of Christians East Bennington n/k/a Immaculate Heart of Mary Roman Catholic Parish
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Catholic Society of St. Mary's Church Lockport, NY n/k/a All Saints Roman Catholic Parish of Lockport,
                          New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Coronation of the Blessed Virgin Mary Roman Catholic Church Society of Buffalo N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Hyacinth Roman Catholic Church Society of Dunkirk New York n/k/a Blessed Mary Angela R.C. Parish
                          of Dunkirk, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Elizabeth Cherry Creek tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Mary Magdalene Roman Catholic Church Society tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Bennington N.Y. n/k/a Immaculate Heart of Mary Roman
                          Catholic Parish tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Church of the Holy Trinity Dunkirk N.Y. tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Holy Name of Mary Roman Catholic Church Society of Ellicottville tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joseph New Cathedral Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saint Anthonys Roman Catholic Church Society of Fredonia New York tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Aloysius Gonzaga Roman Catholics Church Society of Cheektowaga New York
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Augustines Roman Catholic Church Society of Rapids-Clarence Center New York n/k/a The Good
                          Shepherd Roman Catholic Church Society of Pendleton, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Michael Archangel Roman Catholic Church Society of Lackawanna n/k/a Queen of Angels R.C. Church
                          of Lackawanna NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Leroy New York n/k/a Our Lady of Mercy Roman Catholic
                          Parish of LeRoy tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John De La Salle Roman Catholic Church of LaSalle N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart R.C. Church Society of Buffalo NY tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Aloysius Church of Springville tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saints Peter and Pauls Church of Jamestown N.Y. n/k/a Holy Apostles Roman Catholic Parish of



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                          Jamestown, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Nicholas Roman Catholic Congregation of North Java N.Y. n/k/a St. John Neumann Roman Catholic
                          Church of Wyoming County tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joan of Arc Roman Catholic Church Society of Perrysburg N.Y. n/k/a St. Josephs Roman Catholic
                          Church Society of Gowanda, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stephens Roman Catholic Church Society n/k/a Holy Trinity Roman Catholic Church of Medina New
                          York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Niagara Falls N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of the Most Holy Rosary Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Lakewood New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Church of St. Mary of Angels Olean tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis Church Society of Tonawanda Village Tonawanda tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Lockport n/k/a All Saints Roman Catholic Parish of
                          Lockport New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Barnabas Church Society of New York tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Transfiguration Roman Catholic Church Society n/k/a St. Johns Roman Catholic Church Society of Olean
                          N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Mary of Lourdes Roman Catholic Church Society of Chautauqua Bemus Point
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Teresa of the Infant Jesus Roman Catholic Church of Niagara Falls n/k/a St. Raphaels Roman Catholic
                          Parish of Niagara Falls N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Benedicts Roman Catholic Church Society of Eggertsville tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Pauls Roman Catholic Church Society of Dayton N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff All Saints Roman Catholic Parish of Lockport NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Francis of Assisi Roman Catholic Church Society of Buffalo n/k/an/k/a St. Katharine Drexel Roman
                          Catholic Church Society of Buffalo N.Y tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Hiacinth Roman Catholic Church Society of Dunkirk N.Y. n/k/a Blessed Mary Angela R.C. Parish of
                          Dunkirk N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Canaseraga New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Frances Cabrini Parish (Collins Center NY) n/k/a Epiphany of Our Lord Roman Catholic Parish
                          Community, Langford, N.Y tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joachim Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster



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                          on behalf of Plaintiff Holy Family Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Kanty Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff SS. Rita and Patrick Roman Catholic Church Society of Buffalo N.Y. n/k/a St. Clare Roman Catholic
                          Church Society of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Nativity of the Blessed Virgin Roman Catholic Church Society of Buffalo n/k/a Our Lady of Hope Roman
                          Catholic Parish of Buffalo New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John Baptists Rom. Cath. Church Society of Boston N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. James Roman Catholic Church Society of Buffalo N.Y. n/k/a Blessed Trinity Roman Catholic Church
                          Society of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Family Roman Catholic Church Society of Machias N.Y. n/k/a St. Philomenas Roman Catholic
                          Church Society of Franklinville, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Trustees of St. Patrick Church Town of Java n/k/a St. John Neumann Roman Catholic Church of Wyoming
                          County tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Baptists Roman Catholic Church Society of N. Collins NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Johns Roman Catholic Church Society of Olean N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Monicas Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Brendans Roman Catholic Church Society of Almond N.Y., (Alfred) tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Notice of Appearance Creditor Parish Steering Committee tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Stephens Roman Catholic Church of Grand Island N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Barbaras Roman Catholic Church Society n/k/a Queen of Angels R.C. Church of Lackawanna N.Y.
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Margarets Roman Catholic Church Society of Buffalo New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patricks Roman Catholic Church of Belfast N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Good Shepherd Roman Catholic Church Society of Pendleton N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Mary Redemptorist Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Most Precious Blood Rom. Cath. Church Society of Angola tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sts. Agatha and Ambrose Roman Catholic Parish of Buffalo N.Y. n/k/a Our Lady of Charity Catholic Parish
                          tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Peace Roman Catholic Church Society of Clarence tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com




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Timothy Patrick Lyster
                          on behalf of Plaintiff St. Adalberts Rom. Cath. Church Society of Buffalo N.Y. n/k/a St. John Kanty Roman Catholic Church
                          Society of Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Annunciation Roman Catholic Church Society of Buffalo N.Y. n/k/a Our Lady of Hope Roman
                          Catholic Parish of Buffalo, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Elizabeths Roman Catholic Church of Buffalo N.Y. n/k/a Assumption Roman Catholic Church Society
                          of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Georges Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Charles Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Philomenas Roman Catholic Church Society of Franklinville N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Pius X Roman Catholic Church Society of Town of Amherst N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Varysburg New York n/k/a SS. Joachim & Anne Roman
                          Catholic Church of Attica, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Peters Roman Catholic Church Society of Leroy n/k/a Our Lady of Mercy Roman Catholic Parish of
                          LeRoy New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart Roman Catholic Church Society of Portville New York n/k/a The Church of St. Mary of the
                          Angels, Olean tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Boniface Roman Catholic Church Society tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Most Holy Redeemer Roman Catholic Church Society of Cheektowaga N.Y. n/k/a St. Lawrences
                          Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Patricks Roman Catholic Church Society of the City of Lockport N.Y. n/k/a All Saints Roman Catholic
                          Parish of Lockport, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Good Counsel Roman Catholic Church Society of Darien Center N.Y. n/k/a Immaculate Heart
                          of Mary Roman Catholic Parish tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Vincent de Paul Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff The Immaculate Conception Roman Catholic Church Society of Wellsville N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Spirit Roman Catholic Church Society of North Collins N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Josephs Roman Catholic Church Society of Lockport N.Y., n/k/a All Saints Roman Catholic Parish of
                          Lockport, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. John the Baptist Roman Cath Congregation tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady of Loretto Roman Catholic Church Society of Buffalo New York, Incorporated n/k/a Our Lady of
                          Hope Roman Catholic Parish of Buffalo, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Transfiguration Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Peter's Roman Catholic Church Society of Lewiston N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com




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Timothy Patrick Lyster
                          on behalf of Plaintiff Our Lady Help of Christians Roman Catholic Church of Cheektowaga New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Augustines Roman Catholic Church Society of Depew N.Y. n/k/a Blessed Mother Teresa of Calcutta
                          Roman Catholic Parish of Depew, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Cattaraugus N.Y. tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Albert the Great Roman Catholic Church Society of North Tonawanda N.Y. n/k/a Saint Jude the Apostle
                          Roman Catholic Parish of North Tonawanda, New York tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Thomas Aquinas Roman Catholic Church Society of Buffalo tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Apostles Peter and Paul Roman Catholic Church Society of Buffalo N.Y. n/k/a St. Clare Roman
                          Catholic Church Society Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Holy Name of Jesus Roman Catholic Church tlyster@woodsoviatt.com mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Columbas Roman Catholic Church Society of Buffalo N.Y. n/k/a Sts. Columba-Brigid Roman Catholic
                          Church of Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Sacred Heart of Jesus Roman Catholic Church Society of N. Collins NY tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anthonys Roman Catholic Church Society of Batavia N.Y. n/k/a Ascension Roman Catholic Parish of
                          Batavia, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Brigids Roman Catholic Church Society Inc. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Marys Roman Catholic Church Society of Swormville tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Florians Roman Catholic Church Society of Buffalo N.Y. n/k/a All Saints Roman Catholic Church
                          Society of Buffalo tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Christophers Roman Catholic Church Society of Tonawanda tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Pauls Roman Catholic Church Society of Kenmore tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Queen of Martyrs Roman Catholic Church Society of Cheektowaga New York tlyster@woodsoviatt.com,
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Joseph Roman Catholic Church Society of Lyndonville N.Y. n/k/a Our Lady of the Lake Roman
                          Catholic Parish of Barker and Lyndonville, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff Saints Peter and Pauls Roman Catholic Church Society of Williamsville tlyster@woodsoviatt.com
                          mjohnstone@woodsoviatt.com

Timothy Patrick Lyster
                          on behalf of Plaintiff St. Anns Roman Catholic Church of Buffalo N.Y. n/k/a Sts. Columba-Brigid Roman Catholic Church of
                          Buffalo, N.Y. tlyster@woodsoviatt.com, mjohnstone@woodsoviatt.com

Trevor Prince, Jr
                          on behalf of Interested Party Sisters of Good Shepherd and the Roman Catholic Religious Institute of the Religious of the Good
                          Shepherd tprince@archerlaw.com

William Carson
                          on behalf of Interested Party American Guarantee and Liability Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Interested Party Zurich American Insurance Company wcarson@steptoe.com



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William Carson
                          on behalf of Interested Party Providence Washington Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Defendant Zurich American Insurance Company wcarson@steptoe.com

William Carson
                          on behalf of Defendant Providence Washington Insurance Company wcarson@steptoe.com

William Corbett, Jr
                          on behalf of Interested Party Selective Insurance Company of New York wcorbett@cmg.law

William Corbett, Jr
                          on behalf of Defendant Selective Insurance Company of America (formerly known as Exchange Mutual Insurance Company)
                          wcorbett@coughlinduffy.com

William Henry Gordon
                          on behalf of Creditor Wayne Bortle wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Gail Holler-Kennedy wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Carolyn Anderson wgordon@garabedianlaw.com

William Henry Gordon
                          on behalf of Creditor Richard Brownell wgordon@garabedianlaw.com


TOTAL: 583




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                Case No.: 1−20−10322−CLB
                                                      Chapter: 11
         The Diocese of Buffalo, N.Y.
                                                      Tax ID: 16−0743984
                         Debtor(s)


                     NOTICE OF FILING OF TRANSCRIPT AND OF
                DEADLINES RELATED TO RESTRICTION AND REDACTION

     A transcript of the proceeding regarding various motions held on September 11, 2023 was
filed on October 20, 2023. The following deadlines apply:
     The parties have until October 27, 2023 to file with the court a Notice of Intent to Request
Redaction of this transcript. The deadline for filing a request for redaction is November 13,
2023.
     If a request for redaction is filed, the redacted transcript is due November 20, 2023.
     If no such notice is filed, the transcript may be made available for remote electronic access
upon expiration of the restriction period, which is January 18, 2024.
     To review the transcript for redaction purposes, you may purchase a copy from the
transcriber or you may view the document at the clerk's office public terminal.

Date: October 20, 2023                               Lisa Bertino Beaser
                                                     Clerk of Court

Form trscript/Doc 2565
www.nywb.uscourts.gov




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